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                                  Nebraska Supreme Court A dvance Sheets
                                          298 Nebraska R eports
                                                 LEWISON v. RENNER
                                                  Cite as 298 Neb. 654



                                        Barbara Lewison, appellant, v.
                                           Carol R enner, appellee.
                                                    ___ N.W.2d ___

                                         Filed January 12, 2018.   No. S-17-173.

                1.	 Motions for New Trial: Judges: Words and Phrases: Appeal and
                     Error. An appellate court reviews a denial of a motion for new trial for
                     an abuse of discretion. A judicial abuse of discretion exists when the
                     reasons or rulings of a trial judge are clearly untenable, unfairly depriv-
                     ing a litigant of a substantial right and denying just results in matters
                     submitted for disposition.
                2.	 Negligence: Proof. To prevail in any negligence action, a plaintiff must
                     show a legal duty owed by the defendant to the plaintiff, a breach of
                     such duty, causation, and resulting damages.
                3.	 Negligence: Motor Vehicles: Proof. In an automobile negligence
                     action, a plaintiff must prove each of the following elements: (1) that
                     the defendant was negligent in one or more of the ways alleged, (2) that
                     this negligence was a proximate cause of the collision, (3) that the colli-
                     sion was a proximate cause of some damage to the plaintiff, and (4) the
                     nature and extent of that damage.
                4.	 Expert Witnesses. When the character of an alleged injury is subjective
                     rather than objective, a plaintiff must establish the cause and extent of
                     the injury through expert medical testimony.
                5.	 Physicians and Surgeons: Expert Witnesses: Words and Phrases.
                     Although expert medical testimony need not be couched in the magic
                     words “reasonable medical certainty” or “reasonable probability,” it
                     must be sufficient as examined in its entirety to establish the cru-
                     cial causal link between the plaintiff’s injuries and the defendant’s
                     negligence.
                 6.	 ____: ____: ____. Medical expert testimony regarding causation based
                     upon possibility or speculation is insufficient; it must be stated as being
                     at least “probable,” in other words, more likely than not.
                7.	 Pleadings: Proof. It is an elementary rule of pleading that matters
                     admitted by the pleadings need not be proved.
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              Nebraska Supreme Court A dvance Sheets
                      298 Nebraska R eports
                             LEWISON v. RENNER
                              Cite as 298 Neb. 654
 8.	 Pleadings. Generally, an admission made in a pleading on which the
     trial is had is more than an ordinary admission, it is a judicial admission.
 9.	 Pleadings: Evidence: Waiver. A judicial admission is a formal act done
     in the course of judicial proceedings which is a substitute for evidence,
     thereby waiving or dispensing with the production of evidence by con-
     ceding for the purpose of litigation that the proposition of fact alleged
     by the opponent is true.
10.	 Pleadings: Intent. It is important to consider the context in which a
     judicial admission is made.
11.	 ____: ____. A judicial admission does not extend beyond the intendment
     of the admission as clearly disclosed by its context.
12.	 Negligence: Motor Vehicles: Damages. When a defendant admits the
     collision caused “some injury” but expressly denies the nature and
     extent of the injuries and damages claimed, it is improper to construe the
     admission as conceding the collision caused all of the injuries claimed
     by the plaintiff.
13.	 Verdicts: Appeal and Error. In determining the sufficiency of the evi-
     dence to sustain a verdict, the evidence must be considered most favor-
     ably to the successful party, every controverted fact must be resolved in
     the successful party’s favor, and the successful party is entitled to the
     benefit of any inferences reasonably deducible from the evidence.
14.	 Juries: Verdicts: Presumptions. When the jury returns a general ver-
     dict for one party, a court presumes that the jury found for the successful
     party on all issues raised by that party and presented to the jury.
15.	 Trial: Expert Witnesses. Triers of fact are not required to take opinions
     of experts as binding upon them, and determining the weight to be given
     expert testimony is uniquely the province of the fact finder.

  Appeal from the District Court for Buffalo County: John H.
M arsh, Judge. Affirmed.
   Michael W. Meister for appellant.
  Jeffrey H. Jacobsen and Nicholas R. Norton, of Jacobsen,
Orr, Lindstrom &amp; Holbrook, P.C., L.L.O., for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, K elch, and
Funke, JJ., and Moore, Chief Judge.
  Stacy, J.
  After an automobile collision, Barbara Lewison sued Carol
Renner for negligence, claiming injuries to her neck, back, and
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          Nebraska Supreme Court A dvance Sheets
                  298 Nebraska R eports
                      LEWISON v. RENNER
                       Cite as 298 Neb. 654
wrists. Renner admitted her negligence caused the collision and
also admitted the collision caused “some injury” to Lewison,
but specifically denied the nature and extent of the injuries
and damages claimed. The jury returned a general verdict for
Renner. Lewison moved for a new trial, arguing the verdict
was inadequate in light of Renner’s admissions. The trial court
denied the motion for new trial, and Lewison appeals. Finding
no error, we affirm.
                           I. FACTS
   On December 21, 2012, in Kearney, Nebraska, Renner made
a left turn in front of a vehicle being driven by Lewison and
the two vehicles collided. Lewison was taken from the scene
by ambulance and treated in the emergency room for com-
plaints of neck and back pain.
   In 2014, Lewison filed a negligence action against Renner
in Buffalo County District Court. She alleged the collision
caused injuries to her neck, back, and wrists. She further
alleged that because of those injuries, she incurred medical
expenses of $53,270 and experienced mental and physical pain
and suffering.
   Renner’s operative answer admitted her negligence was
the proximate cause of the collision with Lewison and fur-
ther admitted “the collision was the cause of some injury to
[Lewison].” But Renner “specifically denie[d] the nature and
extent of the damage and injury claimed by [Lewison].”
               1. Evidence Presented at Trial
   The case was tried to a jury. Lewison testified at trial,
but recalled very few details of her medical history and was
generally a poor historian. Most of the evidence regarding
Lewison’s medical history and treatment was provided through
the video depositions of four medical experts. Of the four
medical experts, three were Lewison’s treating doctors and one
was hired by Renner as a defense expert.
   The only exhibits Lewison offered at trial were the video
depositions of her doctors and the standard life expectancy
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
                       LEWISON v. RENNER
                        Cite as 298 Neb. 654
table. She did not offer any evidence regarding the amount of
her medical expenses, nor did she offer evidence of lost earn-
ings, property damage, or other special damages. At oral argu-
ment before this court, Lewison’s attorney explained that the
decision not to offer evidence of Lewison’s medical expenses
was a strategic one, designed to avoid anchoring the jury to a
formulaic approach to calculating damages.

                         (a) Family Doctor
   Lewison’s family doctor testified that 1 week after the col-
lision, his office treated Lewison for tightness in her neck and
bruising. Lewison returned to the family doctor 10 days later,
reporting moderate neck spasms. CT scans of Lewison’s head,
neck, and thoracic spine were negative. She was referred to
physical therapy and prescribed pain medications.
   According to the family doctor, Lewison first complained
to him about tingling in her hands on February 5, 2013,
roughly 6 weeks after the collision. He ruled out any injuries
related to her cervical spine and eventually diagnosed her
with carpal tunnel syndrome and referred her to an orthopedic
hand surgeon.
   The family doctor was not asked to offer an opinion on
whether the collision caused Lewison’s neck and wrist com-
plaints. But he did testify that her neck complaints were
“consistent” with the collision and that the collision “could”
have caused her wrist pain. When asked whether “some of”
Lewison’s medications were related to injuries suffered in the
2012 collision, he replied, “I think sometimes yes, sometimes
no. She has other aches and pains elsewhere. But, yes, some-
times she takes it for back pain, or neck pain, or head pain.”
The family doctor summarized:
      I would say [Lewison] is a unique individual and maybe
      doesn’t read the book as far as being a standard run-of-
      the-mill patient, and that she might have aches and pains
      that sometimes are hard to figure out no matter what day
      of the week it is.
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
                       LEWISON v. RENNER
                        Cite as 298 Neb. 654
                         (b) Hand Surgeon
    Lewison’s family doctor referred her to an orthopedic hand
and microvascular surgeon in Kearney. The hand surgeon first
saw Lewison in March 2013, approximately 3 months after
the collision. At that time, Lewison complained of numbness
and tingling in both hands. The hand surgeon testified that
Lewison had undergone a carpal tunnel surgery in 1992, and
he ultimately performed additional carpal tunnel surgeries in
2014. When asked whether the collision could have caused
Lewison’s wrist complaints, the hand surgeon replied, “Well,
it’s possible.” Lewison’s counsel then asked:
         Q . . . [I]n this case, if we didn’t have anything other
      than the description provided by Ms. Lewison of the acci-
      dent, would it be more likely than not, then, to say that
      the accident caused . . . the carpal tunnel?
         A Well, you know, I — I’m not sure that I can say
      that . . . .
When asked directly “whether or not the automobile accident
of December 21st, 2012, caused or contributed . . . in any way”
to Lewison’s carpal tunnel, the hand surgeon replied:
      Well, it — it’s possible that the injuries to her hands
      caused enough swelling around those nerves that it
      increased the pressure, and it — and, but more than likely,
      there was probably some amount of preexisting problem.
      Obviously, she had previous surgery on the right, and
      people tend to be built fairly symmetrically, and so if
      you’re going to have a — a problem with a tight tunnel
      for a nerve on one side, you’re likely to have a similar
      problem on the other, unless there was some other reason
      for it, like, for example, an old fracture or something
      that changed the architecture of that tunnel. So if some-
      body has idiopathic carpal tunnel on one side, you would
      expect sometime within . . . the next several years they’ll
      probably develop[] similar symptoms in the other. It’s not
      100 percent, but it’s pretty common.
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
                       LEWISON v. RENNER
                        Cite as 298 Neb. 654
                         (c) Pain Specialist
   Eleven months after the collision, Lewison visited a pain
specialist in Kearney for back pain. The pain specialist testi-
fied that Lewison had an extensive history of back problems,
including: a back surgery when she was 19; a lumbar diskec-
tomy and fusion surgery in 1989; and a series of nerve abla-
tion (or rhizotomy) surgeries, the most recent of which was in
2011. With respect to the cause of Lewison’s recent back pain,
the pain specialist said “it’s hard for me to help out on that.”
Lewison’s counsel asked:
         Q So — so obviously, the car accident didn’t cause
      her back problems. The question I guess we have here
      is did it aggravate the preexisting back problems that
      she had?
         A Yeah, so it’s tough for me to, you know, give a
      definitive statement on that, and — and I, you know, I —
      definitely, it could have; but can anyone say, would she
      still have wound up needing the procedure I ultimately
      did, which is spinal cord stimulator implant, that’s tough
      for me to say whether . . . her disease progression was
      going to keep going, whether — the way it was, and
      develop into this with or without the car accident. I think
      it would have been easier to say the car accident pre-
      cipitated it if within that first month afterwards we were
      dealing with excruciating back pain; but for me, like you
      said, I was 11 months out, basically . . .
         Q Right, right.
         A . . . before I saw her.
                       (d) Defense Expert
   A neurologist was hired by Renner to examine Lewison
and review her medical records. He testified that Lewison had
a long history of neck, back, and wrist pain before the colli-
sion. But he also testified that Lewison “may well have had a
temporary sprain or strain, but any persisting pain after four
to six weeks was not caused by the accident.” He ultimately
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
                       LEWISON v. RENNER
                        Cite as 298 Neb. 654
testified that the medical treatment Lewison received “from the
emergency room and for four to six weeks or so after that was
both appropriate and reasonably caused by the — necessitated
by the accident.” This expert did not testify about the cost of
such treatment, and no bills for this period of treatment, or any
other, were offered.
              2. Jury Instructions and Verdict
  Regarding Renner’s admissions, the court instructed the jury:
       [Renner] admits that she was negligent in the operat-
    ing of a motor vehicle and that her negligence was the
    proximate cause of some injury to [Lewison]. [Renner]
    denies the nature and extent of [Lewison’s] injury and
    damages.
       Based upon this admission[,] the Court had found as
    a matter of law that [Renner] was negligent and her neg-
    ligence was a proximate cause of the accident and you
    must accept those findings as true.
The court then instructed the jury that, in light of Renner’s
admissions, Lewison had the following burden of proof:
                     B. BURDEN OF PROOF
       Before [Lewison] can recover against [Renner],
    [Lewison] must prove, by the greater weight of the evi-
    dence[,] the nature and extent of her damages proximately
    caused by [Renner’s] negligence.
                    C. EFFECT OF FINDINGS
       If [Lewison] has not met this burden of proof, then
    your verdict must be for [Renner].
       On the other hand, if [Lewison] has met this burden of
    proof, then your verdict must be for [Lewison].
Regarding recoverable damages, the jury was instructed:
       If you return a verdict for [Lewison], then you must
    decide how much money will fairly compensate [Lewison]
    for her injury.
       I am about to give you a list of the things you may
    consider in making this decision. From this list, you must
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
                       LEWISON v. RENNER
                        Cite as 298 Neb. 654
      only consider those things you decide were proximately
      caused by [Renner’s] negligence:
         1. The nature and extent of the injury, including whether
      the injury is temporary or permanent (and whether any
      resulting disability is partial or total);
         2. The reasonable value of the medical (hospital, nurs-
      ing, and similar) care and supplies reasonably needed by
      and actually provided to [Lewison] (and reasonably cer-
      tain to be needed and provided in the future);
         3. The physical pain and mental suffering [Lewison]
      has experienced (and is reasonably certain to experience
      in the future)[.]
The jury was given the standard preexisting injury instruction
found in NJI2d Civ. 4.09.
   The jury was also given two verdict forms: one finding in
favor of Lewison with a line for the amount of damages, and
the other finding in favor of Renner. No party objected to the
jury instructions or the verdict forms, and no error is assigned
to them on appeal.
   During deliberations, the jurors sent a written question ask-
ing, in part, “What bills have been paid for so far?” After con-
sulting with counsel, the court replied, “You have received all
the evidence that has been presented. Keep deliberating.” After
further deliberations, the jury returned a unanimous verdict
for Renner.
                   3. Motion for New Trial
   Lewison timely moved for a new trial claiming, among
other things, that the jury’s verdict was “inadequate” in light
of Renner’s admissions and was not sustained by sufficient
evidence. Specifically, Lewison argued that because Renner
had admitted her negligence proximately caused “some injury”
to Lewison, the jury had to return a verdict for Lewison, even
if they found minimal damages. Renner disagreed. She argued
that by admitting the collision caused “some injury” but spe-
cifically denying the nature and extent of Lewison’s claimed
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               Nebraska Supreme Court A dvance Sheets
                       298 Nebraska R eports
                             LEWISON v. RENNER
                              Cite as 298 Neb. 654
injuries and damages, Lewison retained both the burden to
prove which injuries were proximately caused by the accident
and the burden to prove the nature and extent of her damages.
Renner argued that Lewison failed to carry her burden of proof
and that the jury properly returned a defense verdict.
   The district court denied Lewison’s motion for new trial
and entered judgment on the jury’s verdict. Lewison timely
appealed, and we moved the case to our docket on our
own motion.1
                II. ASSIGNMENT OF ERROR
   Lewison assigns, restated, that the trial court erred in over-
ruling her motion for new trial because the jury’s verdict was
inadequate in light of Renner’s judicial admissions.
                III. STANDARD OF REVIEW
   [1] An appellate court reviews a denial of a motion for new
trial for an abuse of discretion.2 A judicial abuse of discre-
tion exists when the reasons or rulings of a trial judge are
clearly untenable, unfairly depriving a litigant of a substan-
tial right and denying just results in matters submitted for
disposition.3
                         IV. ANALYSIS
   Lewison argues she is entitled to a new trial, because the
jury’s verdict was not sustained by sufficient evidence or was
contrary to law.4 She contends “[t]here is no explanation for a
[defense] verdict . . . ,”5 given that Renner admitted the col-
lision was caused by her negligence, and also admitted the
collision caused Lewison “some injury.”

 1	
      See Neb. Rev. Stat. § 24-1106 (Reissue 2016).
 2	
      See Armstrong v. Clarkson College, 297 Neb. 595, 901 N.W.2d 1 (2017).
 3	
      Id. 4	
      See Neb. Rev. Stat. § 25-1142(6) (Reissue 2016).
 5	
      Brief for appellant at 8.
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               Nebraska Supreme Court A dvance Sheets
                       298 Nebraska R eports
                             LEWISON v. RENNER
                              Cite as 298 Neb. 654
   To determine whether the trial court abused its discretion
in denying Lewison’s motion for new trial, we first set out
Lewison’s burden of proof in this negligence action.6 Next,
we consider how Renner’s admissions affected that burden
of proof. And finally, we consider the evidence adduced at
trial to determine whether the jury’s verdict was supported by
the evidence.
                      1. Burden of Proof in
                        Negligence Action
    [2,3] To prevail in any negligence action, a plaintiff must
show a legal duty owed by the defendant to the plaintiff, a
breach of such duty, causation, and resulting damages.7 More
specifically, in an automobile negligence action, a plain-
tiff must prove each of the following elements: (1) that the
defendant was negligent in one or more of the ways alleged,
(2) that this negligence was a proximate cause of the colli-
sion, (3) that the collision was a proximate cause of some
damage to the plaintiff, and (4) the nature and extent of
that damage.8
    [4-6] When the character of an alleged injury is subjec-
tive rather than objective, a plaintiff must establish the cause
and extent of the injury through expert medical testimony.9
Although expert medical testimony need not be couched in
the magic words “reasonable medical certainty” or “reasonable
probability,” it must be sufficient as examined in its entirety
to establish the crucial causal link between the plaintiff’s
injuries and the defendant’s negligence.10 We have explained
that “[m]edical expert testimony regarding causation based
upon possibility or speculation is insufficient; it must be

 6	
      See Macke v. Pierce, 266 Neb. 9, 661 N.W.2d 313 (2003).
 7	
      Latzel v. Bartek, 288 Neb. 1, 846 N.W.2d 153 (2014).
 8	
      See, e.g., NJI2d Civ. 2.01.
 9	
      See Doe v. Zedek, 255 Neb. 963, 587 N.W.2d 885 (1999).
10	
      Id.                                      - 664 -
                Nebraska Supreme Court A dvance Sheets
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                               LEWISON v. RENNER
                                Cite as 298 Neb. 654
stated as being at least ‘probable,’ in other words, more likely
than not.”11
                  2. Impact of A dmissions on
                        Burden of Proof
   [7-11] “‘It is an elementary rule of pleading that matters
admitted by the pleadings need not be proved.’”12 Generally,
an admission made in a pleading on which the trial is had is
more than an ordinary admission, it is a judicial admission.13 A
judicial admission is a formal act done in the course of judicial
proceedings which is a substitute for evidence, thereby waiv-
ing or dispensing with the production of evidence by conced-
ing for the purpose of litigation that the proposition of fact
alleged by the opponent is true.14 It is important to consider
the context in which a judicial admission is made.15 A judi-
cial admission does not extend beyond the intendment of the
admission as clearly disclosed by its context.16
               (a) Admission of Negligence and
                 Proximate Cause of Collision
   In this case, Renner’s answer admitted she was negligent
in operating her vehicle and admitted her negligence was the
proximate cause of the collision with Lewison. Based on those
unconditional admissions, the trial court correctly found, as a
matter of law, that Renner was negligent and that her negli-
gence proximately caused the collision. The jury was instructed

11	
      Id. at 975, 587 N.W.2d at 894, citing Berggren v. Grand Island Accessories,
      249 Neb. 789, 545 N.W.2d 727 (1996).
12	
      Lange Building &amp; Farm Supply, Inc. v. Open Circle “R”, Inc., 210 Neb.
      201, 205, 313 N.W.2d 645, 648 (1981), quoting Peitz v. Hausman, 198
      Neb. 344, 252 N.W.2d 628 (1977).
13	
      Lange Building &amp; Farm Supply, Inc., supra note 12.
14	
      See In re Estate of Radford, 297 Neb. 748, 901 N.W.2d 261 (2017).
15	
      City of Ashland v. Ashland Salvage, 271 Neb. 362, 711 N.W.2d 861      (2006).
16	
      In re Estate of Radford, supra note 14.
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                              LEWISON v. RENNER
                               Cite as 298 Neb. 654
to accept those findings as true. As such, Renner’s judicial
admissions effectively relieved Lewison of her burden to prove
the first two elements of her negligence action.17

                (b) Admission of “[S]ome [I]njury”
   Lewison alleged that as a result of the collision, she “sus-
tained injuries to her wrists, neck, and back.” Renner’s answer
admitted the collision was the cause of “some injury” to
Lewison, but specifically denied “the nature and extent of the
damage and injury claimed” by Lewison.
   We considered a similar admission in Springer v. Smith.18 In
that case, the defendant filed an answer admitting the collision
was proximately caused by his negligence and further admit-
ting the plaintiff “suffered some injury” in the collision, but
specifically denying that the injuries were “of the nature and
extent alleged” by the plaintiff.19 We began our analysis by
observing that under such a scenario, the proximate cause of
the plaintiff’s alleged damages remained a controverted issue,
because the defendant had “disputed the claimed injuries in his
pleadings and at the trial.”20 We observed that “[a]n admission
of liability for an accident does not constitute an admission that
all damages claimed by a plaintiff, even though undisputed in
the record, were the proximate result of the collision.”21 And
given the nature of the defendant’s admissions in Springer, we
reasoned it was proper for the trial court to instruct the jury
that before the plaintiff could recover against the defendant,
the plaintiff had the burden to prove, by a preponderance of

17	
      See Dolberg v. Paltani, 250 Neb. 297, 549 N.W.2d 635 (1996) (finding
      negligence as matter of law equates to finding plaintiff established first
      two of four negligence elements, but issues of causation and damages
      remain for jury’s determination).
18	
      Springer v. Smith, 182 Neb. 107, 153 N.W.2d 300 (1967).
19	
      Id. at 108, 153 N.W.2d at 301.
20	
      Id. at 110, 153 N.W.2d at 302.
21	
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the evidence, that “as a proximate result of the accident . . . the
plaintiff sustained injuries and damages; and . . . [t]he extent of
the damages, if any, which the plaintiff has sustained.”22
   [12] Springer illustrates that when a defendant admits the
collision caused “some injury” but expressly denies the nature
and extent of the injuries and damages claimed, it is improper
to construe the admission as conceding the collision caused all
of the injuries claimed by the plaintiff.23
   Here, Renner admitted “some injury” but expressly denied
that Lewison’s injuries, or her damages, were of the nature
or extent claimed by Lewison. The record does not suggest
Renner was ever asked to specify what she intended by “some
injury.” But considering Renner’s judicial admission in con-
text, we conclude it did not relieve Lewison of her burden to
prove both that her claimed injuries and damages were proxi-
mately caused by the collision and the nature and extent of
her damages. In other words, the cause of Lewison’s claimed
injuries, as well as the nature and extent of her injuries and
damages, were controverted by Renner. Lewison’s arguments
to the contrary lack merit.
                     3. Jury’s Verdict Was
                    Supported by Evidence
   [13] In determining the sufficiency of the evidence to sustain
a verdict, the evidence must be considered most favorably to
the successful party, every controverted fact must be resolved
in the successful party’s favor, and the successful party is
entitled to the benefit of any inferences reasonably deducible
from the evidence.24
   [14] Here, the jury returned a general verdict for Renner.
When the jury returns a general verdict for one party, a

22	
      Id.23	
      Accord Golnick v. Callender, 290 Neb. 395, 860 N.W.2d 180 (2015).
24	
      Holman v. Papio-Missouri River Nat. Resources Dist., 246 Neb. 787, 523
      N.W.2d 510 (1994).
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court presumes that the jury found for the successful party
on all issues raised by that party and presented to the jury.25
Consequently, we must treat the jury’s verdict as having found
that Lewison failed to meet her burden of proof on both of the
contested issues: (1) whether the collision was the proximate
cause of any injury or damage to Lewison and (2) the nature
and extent of that damage.
   We pause briefly to observe that the burden of proof instruc-
tion given in this case effectively combined the two contro-
verted elements (proximate cause and nature/extent of the dam-
ages) into a single statement by instructing that Lewison had
to prove “the nature and extent of her damages proximately
caused by [Renner’s] negligence.” While the better practice is
to separate out for the jury each element of a party’s burden of
proof, no one objected to combining these elements in the jury
instructions, and no error has been assigned to the instructions
on appeal.
   On this record, considering the evidence most favorably to
the successful party, we can find no abuse of discretion in the
trial court’s conclusion that the jury’s verdict was supported
by the evidence. Lewison’s neck, back, and wrist complaints
were subjective in nature and, as such, the cause and the
nature/extent of such injuries had to be proved through expert
medical testimony.26 At trial, her treating doctors’ opinions on
causation were equivocal and were couched in terms of pos-
sibilities, rather than probabilities. Lewison does not attempt
to argue otherwise on appeal, and instead, she relies exclu-
sively on the opinion of the defense expert who testified that
the medical treatment Lewison received “from the emergency
room and for four to six weeks or so after that was both appro-
priate and reasonably caused by the — necessitated by the
accident.” Lewison argues that in light of this testimony, the

25	
      Balames v. Ginn, 290 Neb. 682, 861 N.W.2d 684 (2015).
26	
      See Doe v. Zedek, supra note 9.
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jury had no choice but to return a verdict in Lewison’s favor.
We disagree.
   [15] Triers of fact are not required to take opinions of
experts as binding upon them, and determining the weight
to be given expert testimony is uniquely the province of the
fact finder.27 Here, the jury reasonably could have given more
weight to Lewison’s own doctors than to the defense expert,
and therefore concluded Lewison had failed to meet her burden
of proof on causation. And even if the jury did give weight to
the defense expert’s testimony, it reasonably could have con-
cluded Lewison failed to meet her burden of proof regarding
the nature and extent of her damages, because the record con-
tains no evidence from which the jury could determine the cost
of Lewison’s medical treatment during the 4- to 6-week period
after the collision.
   The record amply supports the conclusion that Lewison
failed to meet her burden of proof regarding one or both of the
contested issues: the cause of her injuries and the nature and
extent of her damages. The trial court did not abuse its discre-
tion in overruling Lewison’s motion for new trial.
                      V. CONCLUSION
  For the foregoing reasons, we affirm the district court’s
denial of Lewison’s motion for new trial.
                                               A ffirmed.
  Wright, J., not participating.

27	
      Vredeveld v. Clark, 244 Neb. 46, 504 N.W.2d 292 (1993).
